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            Exhibit 4
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                                                             WAMY SA 5767
                   Case 1:04-cv-07280-GBD-SN Document 535-4 Filed 04/01/19 Page 3 of 7
                                   In the Name of Allah Most Gracious                         Confidential: Attorney-Client
                                              Most Merciful                                         Communications


                                                                                     ‫ﺍﻟﻨﺪﻭﺓ ﺍﻟﻌﺎﻟﻤﻴﺔ‬
World Assembly of Muslim Youth
   Member of the UN NGO’s                                                             ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
                                                                               ‫ﻏ� ﺍﻟﺤﻜﻮﻣ�ﺔ – ﻫﻴﺌﺔ ﺍﻷﻣﻢ ﺍﻟﻤﺘﺤﺪﺓ‬
                                                                                                             ‫ﻋﻀﻮ ﺍﻟﻤﻨﻈﻤﺎﺕ ﻱ‬


      Ref. No: 1/34006                                                                    ‫ﻣﻜﺘﺐ ﻱ ﻥ‬
                                                                            ‫ﺍﻷﻣﻥ ﺍﻟﻌﺎﻡ ﺍﻟﻤﺴﺎﻋﺪ‬
      Date: 15-05-1433 Hijri                                        The Assistant Secretary-General Office
      Corresponding to: 07-04-2012 A.D.

             To Your Excellency Mr. Mohammad Asef Yaqub,
             The Supervisor of the Assembly’s Office in Kashmir


             Greetings,
             I hope you are well and in good health.
             We inform you that the General Secretariat aims to set up an informational program about the
             Assembly’s external offices. The program will cover all the financial and administrative subjects,
             the executed projects and programs, evaluating the stakeholders in the office workplace of these
             operations and some up-to-date information for each office of the Assembly’s external offices
             for the period from (01/01/1992 A.D to 31/12/2002 A.D.).
             In order to collect this information, we prepared the attached forms. Therefore, we kindly request
             you to fill in the forms (accurately and carefully) and to send them back to the General
             Secretariat as soon as possible, but no later than two weeks, in order to allow us to include your
             office’s information in the stated program.
             Moreover, we kindly request you to provide us with the statements of the bank account of the
             Assembly’s Office for the same stated period.


             Kind Regards,
             May the peace and blessings of Allah be upon you.


      Assistant Secretary-General of Offices
           and International Relations                                    Stamp: World Assembly of Muslim Youth
                                                                                 General Secretariat / Riyadh
   Dr. Abdul-Hameed Bin Yousuf Al-Mazroo
                                                                            Established in: 1972 A.D. – 1392 Hijri
                [signature]




             This is a copy.
             Greetings to the office of Maccha area.

             WAMY SA 5767
P.O. Box: 10845 Riyadh 11443 – Kingdom of Saudi Arabic                  ‫ – ﺍﻟﻤﻤﻠﻜﺔ ﺍﻟﻌﺮﺑﻴﺔ ﺍﻟﺴﻌﻮﺩﻳﺔ‬11443 ‫ – ﺍﻟﺮﻳﺎﺽ‬10845 :‫ﺏ‬.‫ﺹ‬
Building 1079 King Fahd Road – Muhammadiah Dist.                                 ‫ – ﻁﺮﻳﻖ ﺍﻟﻤﻠﻚ ﻓﻬﺪ – ﺣﻲ ﺍﻟﻤﺤﻤﺪﻳﺔ‬1079 :‫ﺭﻗﻢ ﺍﻟﻤﺒﻨﻰ‬
Tel: (+9661) 2050000 – Fax: (+96611) 2050011                             (+9661) 2050011 :‫( – ﻓﺎﻛﺲ‬+9661) 2050000 :‫ﻫﺎﺗﻒ‬
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                                                                                            Toll free. 888 250 2611
                                                                                            Fax: 914 219 0919
                                                                                            www. novala ng uag es. com

CERTIFICATE OF ACCT]RACY

STATE of New          York) $:
County of New York)



I, VictoriaVaile, Translation Manager for Nova Languages, Inc., being duly swom, hereby certiff that
Mohanned Khallof is a translator affiliated with Nova Languages, Inc., a corporate member of the American
TranslatorsAssociation, and that he is competent to translate from the Arabic language to the English language.
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

RE: Letter to the Supervisor of the Assembly's Office in Kashmir



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Sworn to before me this                                        /
                                                                   Translation Manager
  / day of
  I                                       ot20 /:7


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                                                                               BARBARA CANTON JACKSON
                                                                              Notary public - State of fVewiort<
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Case 1:04-cv-07280-GBD-SN Document 535-4 Filed 04/01/19 Page 5 of 7




    CONFIDENTIAL                                WAMYSA016237
                   Case 1:04-cv-07280-GBD-SN Document 535-4 Filed 04/01/19 Page 6 of 7
                                  In the Name of Allah Most Gracious
                                             Most Merciful


                                                                                  ‫ﺍﻟﻨﺪﻭﺓ ﺍﻟﻌﺎﻟﻤﻴﺔ‬
World Assembly of Muslim Youth
   Member of the UN NGO’s                                                          ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
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      Ref. No: 1/34184                                                                   ‫ﻣﻜﺘﺐ ﻱ ﻥ‬
                                                                           ‫ﺍﻷﻣﻥ ﺍﻟﻌﺎﻡ ﺍﻟﻤﺴﺎﻋﺪ‬
      Date: 14-06-1433 Hijri                                       The Assistant Secretary-General Office
      Corresponding to: 05-05-2012 A.D.

             To Your Excellency Mr. Mohammad Asef Yaqub,
             The Manager of the Assembly’s Office in Kashmir


             Greetings,
             I hope you are well and in good health.
             In addition to the letter we sent you No. (1/34006) dated on 15/05/1433 Hijri in which we
             requested you to fill in the forms of several subjects for the period from 1992 to 2002 A.D., in
             addition to some up-to-date information about the office, we kindly request you to provide us
             with all the account statements of your office along with the audited budgets for the period from
             1992 to 2002 A.D.


             Kind Regards,
             May the peace and blessings of Allah be upon you.


      Assistant Secretary-General of Offices
           and International Relations                                    Stamp: World Assembly of Muslim Youth
                                                                                 General Secretariat / Riyadh
   Dr. Abdul-Hameed Bin Yousuf Al-Mazroo
                                                                            Established in: 1972 A.D. – 1392 Hijri
                [signature]




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RE,: Letter to the Manager of the Assembly's Office in Kashmir




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Sworn to before me this

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